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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

CHARLES SEXTON,

   Plaintiff,

-vs-                                               CASE NO.: 5:18-CV-111-OC-30PRL

FINANCIAL PACIFIC LEASING, INC

   Defendant.
                                      /

                           NOTICE OF PENDING SETTLEMENT

       Plaintiff, Charles Sexton, by and through the undersigned counsel, hereby notifies the

Court that the parties have reached a settlement with regard to this case and are presently drafting

and finalizing the settlement agreement, and general release or documents. Upon execution of

the same, the parties will file the appropriate dismissal documents with the Court.

                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2018, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System:          James J. Webb, Esquire,

Mitrani, Rynor, Adamsky & Tolland P.A., 1200 Weston Road, Penthouse, Weston, FL 33326

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